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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

-3:21-cr-20144
UNITED STATES OF AMERICA, case Cleland, Robert H.

MJ: Stafford, Elizabeth A.

+ att iled: 03-03-2021 At 04:12 PM
Plaintiff, INDIUSA V ANDRE DESHAWN WILLIAMS (

LG)
Vv.
18 U.S.C. § 2252A(aX2)(A)
ANDRE DESHAWN WILLIAMS, 18 U.S.C. § 2252A(a\(5)\(B)
18 U.S.C. § 2253

 

Defendant. .
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 2252A(a)(2)(A)
Distribution of Child Pornography

From on or about April 16, 2020, to on or about April 21, 2020, in the Eastern
District of Michigan, and elsewhere, the defendant, ANDRE DESHAWN
WILLIAMS, did knowingly distribute child pornography as defined in 18 U.S.C. §
2256(8); and the images distributed by the defendant had been mailed, shipped, and
transported using the Internet, a means and facility of interstate or foreign commerce,
and had been mailed, shipped, and transported in or affecting interstate or foreign
commerce by any means, including by computer, in violation of Title 18, United

States Code, Section 2252A(a)(2)(A).
   

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COUNT TWO
18 U.S.C. § 2252A(a)(2)(A)
Receipt of Child Pornography
- Between the dates of April 1, 2020 and September 22, 2020, in the Eastern
District of Michigan, and elsewhere, the defendant, ANDRE DESHAWN
WILLIAMS, did knowingly receive child pornography as defined in 18 U.S.C. §
2256(8); and the images received by the defendant had been mailed, shipped, and
transported using the Internet, a means and facility of interstate or foreign commerce,
and had been mailed, shipped, and transported in or affecting interstate or foreign
commerce by any means, including by computer, in violation of Title 18, United
States Code, Section 2252A(a)(2)(A).
COUNT THREE
18 U.S.C. § 2252A(a)(5)(B)
Possession of Child Pornography

Between the dates of April 1, 2020 and September 22, 2020, within the
Eastern District of Michigan, the defendant, ANDRE DESHAWN WILLIAMS,
knowingly possessed one or more computer hard drives, cell phones, cameras,
DVDs, magazines, periodicals, and other material which contained child
pornography, as defined in Title 18, United States Code, Section 2256(8), and that
child pornography had been shipped and transported using any means and facility of

interstate and foreign commerce, had been shipped and/or transported in and

affecting interstate and foreign commerce, and was produced using materials that

 
  
   

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have been mailed, shipped and transported in and affecting interstate and foreign
commerce by any means, including computer, and any of those images of child
pornography involved a prepubescent minor and a minor who had not attained 12
years of age, all in violation of Title 18, United States Code, Section 2252A(a)(5)(B).
FORFEITURE ALLEGATION

l. The allegations of this Indictment are re-alleged as if fully set forth
here, for the purpose of alleging forfeiture, pursuant to Title 18, United States
Code, Section 2253 and Title 18, United States Code, Section 2428.

2. Ifconvicted of an offense charged and set forth above, ANDRE
DESHAWN WILLIAMS, shall forfeit to the United States any and all materials
and property used and intended to be used in the production, receipt, and

possession of visual depictions of minors engaging in sexually explicit conduct,

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and any and all property, real or personal, constituting or traceable to gross profits
or other proceeds obtained from the offense.

THIS IS A TRUE BILL.

s/Grand Jury Foreperson a
GRAND JURY FOREPERSON

SAIMA S. MOHSIN
Acting United States Attorney

MATTHEW A. ROTH
Chief, Major Crimes Unit
Assistant United States Attorney

se

s/Diane N. Princ

DIANE N. PRINC

KEVIN M. MULCAHY
Assistant United States Attorneys
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(313) 226- 9524

Diane.Princ@usdoj.gov / |
Dated: March 3, 2021

 
 

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Case:3:21-cr-20144

Judge: Cleland, Robert H.

MJ: Stafford, Elizabeth A.

Filed: 03-03-2021 At 04:12 PM

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it z INDI USA V ANDRE DESHAWN WILLIAMS (

United States District Court Criminal Case Cover S
Eastern District of Michigan

 

 

 

 
 

 

 

 

LG)
€o mpanion Case In m -| Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
L] ves No AUSA’s Initials: > WU ?

 

 

Case Title: USA v. ANDRE DESHAWN WILLIAMS

County where offense occurred : Wayne Lf

Check One: Xx] Felony L]Misdemeanor [_|Petty
Indictment/ Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 20-mj-30447 ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

j Case Information

Supersedin

 

Superseding to Case No: Judge:

 

[]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

 

 

 

Defendant name Charges Prior Compiaint (if applicable)
Z
Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
i
March 3, 2021 | No VA
Date Diane N. Princ

Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: (313) 226-9524

Fax: (313) 226-2372

E-Mail address: diane. princ@usdoj.gov
Attorney Bar #; NY 4781159

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

 
